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  12   Attorneys for Plaintiff
  13                   UNITED STATES DISTRICT COURT,
  14     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15   JAMES E. ANDREWS on behalf ) Case No. 5:17-cv-01724-PA-AFMx
  16   himself and all persons similarly ) Complaint filed August 24, 2017
       situated,                         ) Trial Date:
  17
                                         ) Pre-Trial Date:
  18              Plaintiff,             ) Discovery Cutoff:
                                         ) Class Action
  19
                  v.                     )
  20                                     ) NOTICE OF APPEAL
       SIRIUS XM RADIO, INC.,            )
  21
       and Does 1 through 100            )
  22   inclusive,                        ) Hearing Date:
                                         ) Department 9A
  23
                  Defendants.            ) Hon. Percy Anderson
  24
       TO EACH PARTY AND THEIR ATTORNEY OF RECORD:
  25
  26        Plaintiff James E. Andrews hereby appeals to the United States Court
  27   of Appeal for the Ninth Circuit from the final judgment of the district court
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                                 PLEADING PAPER CV-17-01724
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   1   (Doc. 54), entered in this case on January 9, 2018, including the order
   2
       (Doc. 53) granting the motion for summary judgment and denying
   3
   4   Plaintiff’s Motion for Leave to Amend.

   5   DATED: February 7, 2018
   6
                              Respectfully submitted,
   7
                              By      __/s/ Jeffrey Wilens________
   8
                                      JEFFREY WILENS
   9                                  Attorney for Plaintiff
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